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JS 44 (Rev. 07/16)

    

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadi thi
provided by local rules of court. This form, approved by the Judicial Conference of the U per 1974 is required for the use of th

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

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uired by law, except as

nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. fa) PLAINTIFFS
BILLY EDO P.O. BOX 1296 NEW YORK , NY,10150

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

DEFENDANTS
NEW YORK CITY

NOTE:

Attomeys (if Known)

 

County of Residence of First Listed Defendant

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

SUMMONS iSSUED

 

II. BASIS OF JURISDICTION (Pace an “xX” in One Bax Only)

 

Il, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Bax for Plaintiff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Bax for Defendant}
O11 US. Government 43 Federal Question PTF DEF PTF DEF
PlaintifT (U.S. Government Not a Party) Citizen of This State O 1: © 1 _Incosporated or Principal Place o4 a4
of Business In This State
O2 US. Government O4 Diversity Citizen of Another State 0 2 @G 2 _Incorpocated and Principal Place gos os
Defendant (Indicate Citizenship of Parttes in tem HD of Business In Another State
Citizen or Subject of a QO3 OQ 3 Foreign Nation O06 O86
Foreign County
IV. NATURE OF SUIT (lace an “x" in One Bax Only)
CONTRACT. TORTS FORFEITURE/PENALTY_|___BANKRUPICY _] _ OMNER STATUTES]
0 110 Insurance PERSONAL INJURY PERSONAL INJURY ]0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine o MATS Merconalipiury - of Property 21 USC 881 JO 423 Withdrawal © 376 Qui Tam (31 USC
1 130 Miller Act 0 315 e UNM OT © 690 Other 28 USC 157 372%a))
O 140 Negotiable Instrument Liability O 367 Health Cte? | © 400 State Reapportionment
© 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaccutical ROPE: 1 C410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
O 151 Medicare Act O 330 Federal Employers” Product! iability O 830 Patent O 450 Commerce
© 152 Recovery of Defaulted LON 36 Personal © 840 Trademark 0} 460 Deportation
Student Loans a § i 9 hiry Product O 470 Racketeer Influenced and
(Excludes Veterans) oa ine Product Liability - Corvupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY [0 710 Fair Labor Standards O 861 HIA (1395f) OC) 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle 0 370 Other Fraud Act © 862 Black Lung (923) 0 490 Cable/Sat TV
O 160 Stockholders" Suits 0 355 Motor Vehicle CO 371 Truth in Lending O 720 Labor/Management O 863 DIWC/DIWW (405{g)) | 0 850 Securities/Commodities/
(3 190 Other Contract Product Liability CO 380 Other Personal Relations O 864 SSID Title XVI Exchange
O 195 Contract Product Liability | 0 360 Other Personal Property Damage G 740 Raitway Labor Act O 3865 RSI (405(g)) O 890 Other Statutory Actions
0 196 Franchise Injury 0 385 Property Damage C) 751 Family and Medical O 891 Agricultural Acts
© 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matters
Medical Malpractice © 790 Other Labor Litigation © 895 Freedom of Information
| REAL PROPERTY __ CIVIL RIGHTS PRISONER PETITIONS [0 791 Employee Retirement FEDERAL TAX SUITS Act
O 210 Land Condemnation & 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff O 896 Arbitration
0 220 Foreclosure O 441 Voting O 463 Alien Detainee or Defendant) ©} 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment 0 $10 Motions to Vacate O 871 IRS—Third Party ActReview or Appeal of
0 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Ton Product Liability Accommodations 530 General OC) 950 Constitutionality of
© 290 All Other Real Property CO 445 Amer. w/Disabilities -] 0 $35 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application 2
© 446 Amer. w/Disabilitics -] 0 $40 Mandamus & Other [0 465 Other Immigration EF
Other © 550 Civil Rights Actions e.
448 Education C1 555 Prison Condition c
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V. ORIGIN (Ptace an “X" in One Box Only) 9
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer — Direct File
Cite the U.S. Civil Statute under which you are filing (Pe not cite jurisdictional statutes untess diversify): ro

42USC1983

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VI. CAUSE OF ACTION

Brief description of cause:

 

 

 

 

 

 

 

VII REQUESTED IN OO CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes (ONo
VIII. RELATED CASE(S)
IF ANY (See instructions: nGe KAM! VMS DOCKET NUMBER 13CV1782,15CV5605
DATE SIGNATURE OF ATTORNEY OF RECORD
07/27/2016
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

L153 104NS7
Case 1:16-cv-04155-KAM-VMS. Document 1-1 Filed 07/27/16. Page 2 of 3 PagelD #: 238

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CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.10 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

I, , counsel for , do hereby certify that the above captioned civil action is
ineligible for compulsory arbitration for the following reason(s):

O monetary damages sought are in excess of $150,000, exclusive of interest and costs,

O the complaint seeks injunctive relief,

Oj the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

 

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIIE on the front of this form. Rule 50.3.1 (a)
provides that “A civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or
because the cases arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the
same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be deemed “related” to another civil case merely because the civil
case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that “Presumptively, and subject to the power
of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still pending before the
court.”

NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County: NO

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? No

 

b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? YES

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau
or Suffolk County?

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

 

1am currently admitted in the Eastern District of New York and oN a member in good standing of the bar of this court.
Yes No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
Yes (If yes, please explain) [J No

I certify the accuracy of all information provided above.

Signature:
